IDA M. JONES, EXECUTRIX, ESTATE OF A. SIDNEY JONES, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Jones v. CommissionerDocket No. 29948.United States Board of Tax Appeals20 B.T.A. 391; 1930 BTA LEXIS 2142; July 29, 1930, Promulgated *2142  Under the laws of California, upon the death of the husband the wife takes her portion of the community estate as heir of the husband and the whole community estate is properly included in the gross estate of the husband for purposes of Federal estate tax.  Lee A. Dayton, Esq., for the petitioner.  Frank T. Horner, Esq., for the respondent.  SEAWELL*391  The Commissioner determined a deficiency in estate tax for the year 1923 in the amount of $1,026.09 and in so doing included in the gross estate of the decedent the entire community property of the decedent and his wife.  Petitioner contends that only one-half of the value of the community property should have been so included.  The case is submitted on the pleadings.  FINDINGS OF FACT.  The petitioner is a resident of the City of Los Angeles, Calif.A. Sidney Jones died testate on January 1, 1923.  Ida M. Jones was duly appointed and qualified as executrix of his estate.  As such executrix she duly filed a Federal estate-tax return and paid an estate tax of $175.36.  In her estate-tax return as executrix she did not include in the gross estate of the decedent the one-half interest of the*2143  surviving widow in the said community property of said decedent and the surviving widow.  The Commissioner determined the gross estate to be $159,151.12 and the deductions to be $74,078.40, making the net estate $85,072.72, upon which he determined the tax to be $1,201.45, of which $175.36 has been paid, leaving a deficiency balance claimed to be due of $1,026.09, which is correct, provided he committed no error in including in the gross estate of the decedent the entire community property.  OPINION.  SEAWELL: The case is submitted on the pleadings and our findings of fact show that the sole question for our decision is one of law, which is simply whether it was error for the Commissioner in computing the estate tax to include in the gross estate of the decedent the entire value of the community property.  The issue here is controlled by ; ; ; Griffith Henshaw,*392 *2144 ; affd., ; certiorari denied, ); ; and . Judgment will be entered for the respondent.